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                                                                                               percent interest of $250.1 million. We note that FTX previously held a

Overview of the                                                                                minority (20 percent) interest in DAAG. Based on the price paid for the
                                                                                               80 percent interest, the implied minority interest was valued at $62.5

Transaction                                                                                    million. The Transaction was consummated in an arm’s-length basis by
                                                                                               knowledgeable, unrelated parties. As such, it is reasonable to presume
                                                                                               that the Transaction consideration represents fair value as viewed by a
                                                                                               typical market participant. Additional evidence that the Transaction
                                                                                               value approximates fair value is indicated by the fact that no additional
                                                                                               buyers stepped in at a higher offer. Finally, as the Internal Rate of
Parties and Structure                                                                          Return (“IRR”) of the Transaction and the market-participant based
                                                                                               Weighted Average Cost of Capital (“WACC”) approximate one another
FTX Trading and the Seller, DAAG, entered into a stock purchase
                                                                                               (as discussed in a subsequent section of this report), the transaction
agreement on the Valuation Date (the “Purchase Agreement”). As part
                                                                                               value reasonably represents fair value.
of the Transaction, FTX purchased the remaining 80 percent stake in
DAAG. The key parties of the transaction (the “Transaction”) are
outlined below:
                                                                                               Rationale for the Acquisition
      Seller: Digital Assets DA AG
                                                                                               FTX Trading acquired certain assets as part of the Transaction:
      Acquirer: FTX Trading Ltd.
                                                                                                        o   Trade Name
The Transaction was structured as a stock purchase for tax purposes and
meets the requirement of a business combination under ASC 805. As                                       o   Operating Licenses

such, a step-up in the tax basis of the acquired intangible assets,                            FTX Trading is a cryptocurrency brokerage firm that operates in Europe
including goodwill, will occur.                                                                and the Middle East. The primary rationale behind the acquisition of
                                                                                               DAAG was to acquire its operating licenses. The Company’s operating
                                                                                               licenses allow it to sell public securities as tokens on the blockchain in
Purchase Price                                                                                 a broad geographic area, including Cyprus, Switzerland, and Dubai. FTX
                                                                                               Trading through this acquisition aims to develop a strong presence in
Total purchase price was comprised of $166.7 million in cash                                   these   markets.    Furthermore,   the    Company’s    existing   business
consideration         and     contingent        consideration   of   up   to   $93.3           relationships and in-process bank acquisition in Lichtenstein, will
million…should certain milestones be achieved. VBA fair valued this                            further facilitate FTX Trading’s expansion through Europe by smoothing
component and arrived at a fair value of contingent consideration of                           the regulatory processes in the region.
$83.5 million. This resulted in a total consideration paid of the 80




                                                                                                                                                                            A.0149
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Target Company
Overview

Background1
DAAG is a leading Swiss-based firm focusing on the design, structure,
and issuance of tokenized financial instruments. Offering a regulatory
compliant, API driven, and scalable infrastructure framework facilitates
the creation of novel products for digital clients.

The most relevant asset owned by DAAG are the operating licenses (the
“Operating Licenses”), that allows the firm to act as an exchange and
a clearing house for cryptocurrency derivatives and other tokenized
financial instruments. Below is a description of the Operating Licenses:


Company’s Related Entity                                                   Description

Canco GmbH, Pfäffikon                                       AML-License in Switzerland

DAAG DMCC, Dubai                                                       Trading License

                                                             Modulus, Matching engine,
FTX Europe AG, Pfäffikon
                                                            Crypto Derivative Exchange

K-DNA FS Ltd, Cyprus                                             Cycec Trading License

                                                          FMA Liechtenstein, Tokenized
DAAG Certificates GmbH, Herisau
                                                                         stocks license



1 Reference: https://medium.com/digital-assets-ag/about




                                                                                                                               A.0150
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Review of Prospective                                                                               Based on our evaluation, we believe that the PFI is reasonable for
                                                                                                    business and intangible asset valuation purposes.


Financial Information
                                                                                                    Revenue

                                                                                                       PROJECTED REVENUE
                                                                                                       FYE DEC 31
We have evaluated the Prospective Financial Information (“PFI”) was
provided by Management and is presented in Appendix VII, Schedules 3
                                                                                                                           250,000
and 4. The PFI for periods between December 31, 2021 and December
                                                                                                                           200,000




                                                                                                        $US in Thousands
31, 2026 was prepared by Management as of the Valuation Date and
reflect the anticipated revenue and cash flow to be produced by the                                                        150,000

Company from the perspective of a hypothetical market participant.                                                         100,000
Beyond 2026, VBA tapered revenue growth rates down to a normalized                                                          50,000
level in the terminal year. The projections include the in-process                                                              0
acquisition of a financial institution at the time of the Transaction, the                                                             2021   2022   2023   2024   2025   2026

burgeoning cryptocurrency derivatives market as well as the Company’s
ability to take advantage of this market in Europe and the Middle East
via its Operating Licenses.                                                                         Total revenue for DAAG was projected to grow from $11.9 million for
                                                                                                    the year-ending December 31, 2021 to $205.7 million by the year-ending
In addition to detailed conversations with Management regarding the                                 December 31, 2026, representing a 6-year CAGR of 60.82 percent.
PFI, BDO performed various analyses to assess the reasonableness of the                             Based on discussions with Management, the projected revenue growth
forecast utilized within the analysis, including:                                                   is directly correlated to the rising need for tokenized public securities
                                                                                                    in the cryptocurrency environment.
              Comparing         the     Company’s         historical   performance    to
              assumptions included in the PFI; and

              Benchmarked the assumptions in the PFI to relevant industry
              trends.




                                                                                                                                                                                 A.0151
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Earnings before Interest, Taxes, Depreciation                                                 expenditures were assumed to equal depreciation into perpetuity. The
and Amortization (“EBITDA”)                                                                   Company’s capital expenditure level fell in line with the Guideline
                                                                                              Public Companies (“GPC”) as of the Valuation Date.

    PROJECTED EBITDA
    FYE DEC 31
                                                                                              DFCFNWC
                        200,000
                                                                                              As revenues increase, businesses generally require incremental
     $US in Thousands




                        150,000                                                               investments in working capital. We utilized a normalized DFCFNWC
                        100,000                                                               requirements as a percentage of total revenue of 5.4 percent based on
                                                                                              an analysis of the GPCs discussed in a following section of the report.
                         50,000
                                                                                              Normalized   DFCFNWC     requirements,    based   on   the   Company’s
                             0                                                                annualized revenues for 2021, were then compared with the Company’s
                                  2021   2022    2023     2024   2025   2026
                                                                                              actual DFCFNWC at the Valuation Date to determine if there was a
                                                                                              deficiency or excess compared to a market participant. Based on the
                                                                                              Company’s balance sheet as of the Valuation Date, we calculated excess
EBITDA Margin was projected to increase from 64.3 percent of revenue                          DFCFNWC of $11.7 million.
in the year-ending December 31, 2021 to 87.2 percent of revenue by
the year-ending December 31, 2026. VBA received historical, unaudited                         DFCFNWC forecasts for the projection period were calculated based on
financial statements. The Company maintained steady, profitable                               a review of the Company’s historical working capital requirements and
EBITDA margins throughout its initial growth phase. EBITDA, as noted in                       the requirements of the GPCs. The DFCFNWC level in the terminal year
Appendix VII, Schedule 3, is expected to grow steadily during the                             was assumed to equal the same normalized percentage of revenue as
forecast period as the Company scales.                                                        the previous year of the projection period.



Capital Expenditures and Depreciation                                                         Tax Rate
Capital expenditures (“CapEx”) are made to maintain the proper level                          The tax rate used in our analysis was 12.0 percent. This effective tax
of property, plant, and equipment (i.e., not impair normal business                           rate was based on a blended federal and canton rate in Switzerland,
operations).                The estimated capital expenditures should reflect the             as provided by Management.
capacity necessary for the business to achieve the estimated revenue.
Management provided that capital expenditures were to be projected
at 1.0 percent of revenue for the discrete projection period. Capital




                                                                                                                                                                        A.0152
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Tax Amortization Benefit
Under Internal Revenue Code Section 197 (enacted in 1993), a taxpayer
shall be entitled to an amortization deduction with respect to any
amortizable Section 197 intangible asset. The amount of this deduction
can be determined by amortizing the adjusted basis of the intangible
asset over a 15-year period beginning with the month in which the
intangible asset was acquired.

Further, for financial reporting purposes, the fair value standard
relative to intangible assets indicates that any income tax benefits due
to amortization should be included in the determination of fair value,
irrespective of whether a given business combination has been
accomplished on a taxable or a tax-free basis (i.e., in an asset deal
versus a stock deal). The tax benefits associated with the amortization
of the Company’s intangible assets are calculated based upon the
assumed tax rate, the discount rate and the statutory amortization
period.

The fair value of the asset is multiplied by the tax amortization benefit
factor to arrive at the total fair value indication for each asset.




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External Environment
                                                                                      five years to 2026. As of the Valuation Date, regulatory changes for this
                                                                                      industry still uncertain.

                                                                                      Overall, the macroeconomic trends and industry outlook appears to
                                                                                      represent a positive environment in which the Company can achieve
                                                                                      its goals.
A valuation of an asset, business, or business interest must consider
current and prospective economic and industry conditions that may
have an impact on the operations and financial condition of the
business.



Economic Conditions & Industry Conditions
In this analysis, we have examined the general economic and industry
environment conditions that existed as of the Valuation Date. Appendix
V provides an overview of selected economic and industry factors that
prevailed as of the Valuation Date, as well as a discussion of the factors
that are crucial over an extended period of time.

Improving macroeconomic conditions over the five years to 2026 are
also expected to lead corporate profit and research and development
expenditures to increase an annualized 2.6 percent and 3.1 percent,
respectively, over the five years to 2026. These trends are expected to
lead to increased demand for industry operators such as Ledger. In fact,
exchanges are expected to continue to focus on expanding their high-
margin derivatives trading platforms, which will increase trading
volume during the five-year period as investor preference for these
asset classes grows.

Additional relevant factors are growth in personal savings and shifting
preferences should support trade volume of cryptocurrencies over the




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Derivation of Rates of
                                                                                                    the appropriate discount rates for the subject intangible assets. The
                                                                                                    IRR reconciles the financial forecasts that were used as the basis for the


Return
                                                                                                    transaction to the total purchase consideration paid.

                                                                                                    We have employed an income approach, utilizing a Discounted Cash
                                                                                                    Flow (“DCF”) methodology based upon PFI provided by Management to
                                                                                                    determine the overall after-tax discount rate implied by the
                                                                                                    Transaction.   The DCF analysis resulted in an IRR of 38.0 percent.

Valuation theory states that the value of an asset is the present value                             (Appendix VII, Schedule 5) Cash and cash equivalents of approximately

of its expected cash flows discounted at an appropriate cost of capital.                            $19.1 million and excess working capital of approximately $11.7 million

The discount rate refers to the rate of return that a prudent investor                              were added to the sum of the present value of cash flows to form our

would require in the purchase of an interest in a given company or its                              overall opinion for the IRR.

assets. It is also a general term that is used to describe a rate of return
                                                                                                    In the analysis, we have discounted the projected net cash flows back
used to convert a monetary sum payable or receivable in the future into
                                                                                                    to their present value using a mid-year discounting convention. The use
present value. In economic terms, it represents the opportunity cost,
                                                                                                    of mid-year discounting factors better reflects the assumption that net
or expected rate of return, that an investor would have to forego by
                                                                                                    cash flows will be generated evenly throughout the year, rather than at
investing in a particular investment instead of in available alternative
                                                                                                    the beginning or end of the year. The terminal value, which is assumed
investments that are comparable in terms of their risk profiles and other
                                                                                                    to be at the beginning of the period immediately following the discrete
pertinent characteristics.
                                                                                                    projection period, has been discounted back to the present value by the

In our determination of the appropriate discount rates to apply to the                              same number of years as the last term of the discrete projection

specific intangible assets valued herein, we gave consideration to the                              period. 2

discount rate implied by the transaction and a discount rate that would
be reasonably assumed by a market participant.
                                                                                                    Weighted Average Cost of Capital
                                                                                                    A market based Weighted Average Cost of Capital was derived as a
Discount Rate Implied by the Transaction
                                                                                                    benchmark for consideration relative to the discount rate implied by

The Internal Rate of Return (“IRR”) implied by the total consideration                              the transaction. The discount rate comprises two components:

paid in the transaction can be used as a starting point in determining


2 Valuing a Business, Shannon P. Pratt, Robert Reilly, Robert P. Schweihs; published by
McGraw-Hill.




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     i.      Time Value of Money - Time value of money deals with                          The estimates of cash flows developed in this analysis are presented
             the concept that $1 received today is worth more to an                        on a debt-free basis, representing the cash flow available to both debt
             investor than $1 received at some future date. This is                        and equity investors. Accordingly, the discount rate applied to the
             attributable to the foregoing of the use of funds over the                    cash flows is based upon a market-based Weighted Average Cost of
             holding period, as well as an expected rate of inflation                      Capital (“WACC”), which is an estimate of the after-tax rate of return
             over the holding period. It must be understood that time                      required by debt and equity investors of the business enterprise.
             value of money in no way deals with risk. It is further
             assumed that a prudent investor will always choose $1 in-                     DAAG’s cost of equity capital and cost of debt capital were developed
             hand versus the guarantee of $1 in the future because the                     based on data and factors relevant to the economy, the industry, and
             investor can invest this in-hand dollar at some rate of                       the Company, as of the Valuation Date. These costs were then
             return.                                                                       weighted in terms of a typical industry or market participant capital
                                                                                           structure to determine the WACC.
     ii.     Risk - Risk is defined in terms of financial structure
             (financial risk) and in terms of a company’s markets
                                                                                               WACC          =      (Wd)(Kd) + (We)(Ke)
             (business risk). Financial risk refers to the possibility of
             bankruptcy and the variability of the returns to equity                           where Wd      =      Weighting of debt to total capital
             investors due to the amount of debt. Business risk refers
                                                                                               Kd            =      After-tax cost of debt capital
             to the variability of earnings from the company’s
             operations.                                                                       We            =      Weighting of equity to total capital

The rate of return expected by a prudent investor from an investment                           Ke            =      Cost of equity capital
is, therefore, related to the perceived risk stemming from:

     i.      The general level of interest rates;
                                                                                           Cost of Debt (KD)
     ii.     A premium for perceived financial risk; and
                                                                                           The rate of return on debt capital (Kd) is the incremental average
 iii.        A premium for perceived business risk.
                                                                                           borrowing cost that a market participant would expect to pay to
Generally, academic studies have shown that stockholders expect to                         finance the capital structure would expect to pay to obtain debt
receive a premium over a risk-free rate of return as evidenced by the                      financing based on the assumed capital structure. The effective cost
return on U.S. government bonds. Small market capitalization stocks                        of debt is the after-tax cost since interest expense is tax deductible.
command an additional premium. For a particular company, the risk-                         The after-tax cost of debt is calculated as follows:
free rate is adjusted by a factor called beta, which relates the general
market premia to the specific risks associated with the Company.




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     Kd                 =        Selected pre-tax interest rate x (1 - T)                  Guideline Public Companies/Market
                                                                                           Participants
     where Kd           =        After-tax cost of debt (effective cost)

     T                  =        Tax rate for the Company                                  As part of the analysis and to estimate certain market-based inputs to
                                                                                           the CAPM, information on potential GPCs was gathered using Capital
                                                                                           IQ. We researched companies operating in the Security and

For DAAG, the pre-tax cost of debt is based on the yield of Baa rated                      Commodity Exchanges industry. A GPC was considered a comparable

corporate bonds, as rated by Moody’s credit rating agency, as of the                       company if the following search criteria were met:

Valuation Date of 3.3 percent. A tax rate of 12.0 percent was selected
                                                                                           Company Type: Public Company;
based on information provided by Management. The after-tax cost of
debt for Ledger Holdings was 2.9 percent.
                                                                                           Primary Industry Classification of Company: “Security and Commodity
                                                                                           Exchanges”;

Cost of Equity (KE)                                                                        Primary Geographic Location of Company: United States and Canada;
                                                                                           and
The cost of equity, or required return on equity, was determined using
the Modified Capital Asset Pricing Model (“CAPM”).                                         Business description considered reasonably similar to that of the
                                                                                           Company, i.e. operates within the cryptocurrency industry.
The CAPM uses a risk-free rate of return and an appropriate market
risk premium for equity investments. The traditional CAPM does not                         A total of 11 GPCs were chosen based on our search criteria. Financial
consider business size risk or unsystematic risk. These risks can be                       data and a brief description of each of these GPCs are summarized in
considered by adding risk premiums for size and business specific                          Appendix 3 through 4.
(unsystematic) risks. The CAPM equation, modified to account for
business size risk and unsystematic risk, is as follows:
                                                                                           Risk-free Rate (RF)
     Ke                 =        Rf + Be (Rm-Rf) + SP + CSRP
                                                                                           The risk-free rate of return is represented by the yield on 20-year U.S.
                                                                                           Treasury constant maturities. As of the Valuation Date, the risk-free
                                                                                           rate was 2.0 percent.




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Re-Levered Beta (BE)                                                                             Equity Risk Premium (RM - RF)
Beta is a measure of systematic risk and is expressed as a function of                           The equity risk premium (“ERP”) is the expected return of the market
the relationship between the excess return on an individual security and                         (Rm) in excess of the risk-free rate (Rf), or, mathematically, Rm - Rf,
the return on the market as measured by a broad index such as the                                and reflects the incremental premium realized by investors in
Standard & Poor’s 500 Stock Composite Index (“S&P 500”). For the                                 representative common stocks above the historical return of long-term
market as a whole, the beta, by definition, is equal to 1.0. For the                             government bonds that represent risk-free investments.
purpose of this analysis, we have utilized the five-year monthly
adjusted, levered betas regressed against the S&P 500 index as reported                          The ERP is depicted in a study published by Duff & Phelps in the 2021
by Capital IQ evidenced by the GPCs. These betas were unlevered using                            Valuation Handbook – Guide to Cost of Capital (the “D&P Handbook”).
the respective GPC’s historical 5-year capital structure prior to the                            As described in the D&P Handbook, the annual returns in excess of the
Valuation Date to determine the unlevered betas and ultimately                                   historical risk-free rate for investments in the publicly traded common
selected a capital structure of 12.5 percent debt.                                               stocks of large U.S. companies 3 during the years 1926-2020 was 6.0
                                                                                                 percent (based on supply-side). This return is on a supply–side basis
Published betas can be referred to as levered betas because they reflect                         where the “supply” of stock market returns is a function of inflation,
the financial leverage of a company’s capital structure. In the course of                        income returns and three-year average earnings. Growth in price /
this analysis, it is necessary to adjust the betas of the GPCs to reflect                        earnings (“PE”) ratios is excluded from this calculation of returns as
the selected capital structure of the Company. This adjustment is                                the rise in PE ratios from 1980 through 2001 caused a distortion of
performed by calculating unlevered betas for the GPCs.                                           historical returns. The D&P Handbook calculates another measure of
                                                                                                 the ERP, the historical equity risk premium, as the large company
The unlevered beta removes the effects of debt from the capital                                  total stock returns less long-term government bond income returns, or
structure to reflect a required return on an investment when the                                 7.25 percent.
investment is financed entirely by equity. We then calculated the re-
levered beta by incorporating the selected capital structure into the                            We ultimately selected the 6.0 percent supply-side equity risk
equation. The resulting beta of 1.20 is thus market-based with a specific                        premium as the most appropriate measure of the forward-looking ERP,
adjustment for the degree of financial leverage of the Company.                                  as it represents the anticipated future ERP, rather than a historical
                                                                                                 measure of the ERP.




3 As measured by deciles 1 and 2 of the D&P Handbook (largest U.S. companies).




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Size Premium (SP)                                                                    Capital Structure
The SP is often used in conjunction with the CAPM because many studies               The cost of equity and cost of debt was then weighted using a capital
have shown that small capitalization equity securities outperform large              structure of 87.5 percent equity and 12.5 percent debt, consistent with
capitalization equity securities, even after adjusting for the systematic            the median capital structure exhibited by the selected guideline
risk (beta) of small stocks. These studies suggest that additional risk is           companies.
related to small capitalization equity securities beyond that explained
by the CAPM. Although the betas tend to be greater than those of large
capitalization equity securities, they do not account for all of the risks           WACC Conclusion
faced by investors in small equity securities. Accordingly, we have
selected and included a SP of approximately 5.0 percent based on                     Based on the preceding analysis of each of the components, the
companies in decile 10 as reported by the 2021 Valuation Handbook,                   concluded WACC for the Company was calculated as follows:
published by Duff & Phelps.
                                                                                        WACC                 =    (Wd)(Kd) + (We)(Ke)

                                                                                        WACC                 =    (12.5%) (2.9%) + (87.5%) (42.2%)
Company Specific Risk Premium (CSRP)
                                                                                        WACC                 =    37.3%
An adjustment must also be made for the “company-specific risk.” In
our judgment, an investor would require an additional return above the
                                                                                        WACC (Rounded)       =    37.5%

aforementioned equity and small company risk premiums in order to be
appropriately compensated for the risks associated with an investment
in an entity such as the Company. In general, this considers factors such            Appendix VII, Schedule 6 present further details of the WACC
as geographic scope, diversity of product lines, customer concentration,             development.
depth of Management, financial strength, legal and regulatory
landscape, perceived risk in achieving projections, and other company-
specific factors relative to the chosen GPCs. The company specific risk              Discount Rate Derivation – Subject Assets
premium has been determined to be 28.0 percent. This premium is
based on the risk of achieving the projections. We note the projections              The valuation of intangible assets is distinctly different from the
are significant and represent a significant improvement in the                       discounted cash flow valuations that are typically used to value
performance of the target company. Furthermore, we note the target                   corporations. This is due to the fact that corporate valuations involve
is operating in a segment where the underlying asset class is relatively             discounting the cash flows at the aggregate corporate level, while the
new and extremely volatile.                                                          valuation of intangible assets considers discounting future earnings or
                                                                                     expected cost savings to be generated by the exploitation of particular




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assets.     Because the risk profiles of these intangible asset benefit               asset to WACC or IRR is discussed in greater detail in the Test of
streams are likely to be different from the risk profile of the aggregate             Reasonableness section of this report.
corporate cash flows, this makes the determination of an appropriate
discount rate for intangible assets valuations challenging.
                                                                                      Discount Rate Selection
Based on an evaluation of the relative risks associated with the company
being valued, operational cash flows are discounted at the weighted                   In determining the appropriate discount rates to apply to the specific
average cost of capital with a primary objective of achieving an optimal              intangible assets valued herein, we gave consideration to the preceding
return on invested capital. As such, the WACC provides an indication of               concepts.   A market based WACC was derived as a benchmark for
value for the business in its entirety, both tangible and intangible                  consideration relative to the discount rate implied by the Transaction.
assets.                                                                               Accordingly, the specific discount rates applied to the earnings
                                                                                      attributable to the intangible assets is that rate which, when considered
Accordingly, the WACC might require the application of analysis and
                                                                                      in conjunction with the rates attributable to all other assets and their
judgment to arrive at a discount rate to apply to the disaggregated level
                                                                                      relative contributions to the total consideration, results in a weighted
of cash flows associated with individual intangible assets. In arriving at
                                                                                      average rate consistent with conclusions indicated by the WARA.
appropriate discount rates for intangible assets, a host of variables are
considered, including the relative risks of each asset and the facts and
circumstances surrounding the exploitation of those assets in the
underlying business.            Riskier assets such as new technologies may
require a discount rate that exceeds the WACC, while a less risky asset
may be discounted at a rate at or below the WACC. When making such
assessments, it is important to give consideration to the Company’s
overall WACC (and IRR), because the various discount rates applied to
each intangible asset should be such that the overall discount rate can
be reconciled to the WACC or IRR.

It is also important that the value derived for a particular intangible
asset is considered in the broader context of the values of other assets
within the same business and their relative importance to that business
as well as the value of the business in its entirety. These precepts
comprise the fundamental objective of the WARA.              WARA and the
reconciliation of the various discount rates applied to each intangible




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Subject Assets Acquired
                                                                                       i.    Marketing-related intangible assets

                                                                                              a.   Trademarks, trade names

- Intangible                                                                                  b.
                                                                                              c.
                                                                                                   Service marks, collective marks, certification marks
                                                                                                   Trade dress (unique color, shape or package design)
                                                                                              d.   Newspaper mastheads
                                                                                              e.   Internet domain names
                                                                                              f.   Noncompetition agreements
                                                                                      ii.    Customer-related intangible assets
Definition of Intangible Assets
                                                                                              a.   Customer lists
Intangible assets are all the elements of a business enterprise that exist                    b.   Order or production backlog
in addition to working capital and tangible assets. They are the                              c.   Customer contracts and related customer
elements, after working capital and tangible assets that make the                                  relationships
business “work” and are often the primary contributors to the earning                         d.   Non-contractual customer relationships
power of the enterprise.                                                               i.    Artistic-related intangible assets

                                                                                              a.   Plays, operas, ballets
An intangible asset shall be recognized as an asset apart from goodwill
                                                                                              b.   Books, magazines, newspapers, other literary works
if it arises from contractual or other legal rights or if it is separable,
                                                                                              c.   Musical works such as compositions, song lyrics,
that is, it is capable of being separated or divided from the acquired
                                                                                                   advertising jingles
business and sold, transferred, licensed, rented or exchanged
                                                                                              d.   Pictures, photographs
(regardless if there is intent to do so). An asset arising from contractual
                                                                                              e.   Video and audiovisual material, including motion
or other legal rights shall be recognized regardless of whether those
                                                                                                   pictures, music videos, television programs
rights are transferable or not from the acquired business. An assembled
                                                                                      iii.   Contract-based intangible assets
workforce is to be categorized as part of goodwill. The allocation of
cost need only be applied to assets that have material value in relation                      a.   Licensing, royalty, standstill agreements
to the overall cost of the acquisition.                                                       b.   Advertising, construction, management, service or
                                                                                                   supply contracts
ASC 805 provides the following list as examples of intangible assets that                     c.   Lease agreements
meet the criteria for recognition apart from goodwill:                                        d.   Construction permits
                                                                                              e.   Franchise agreements
                                                                                              f.   Operating and broadcast rights
                                                                                              g.   Use rights such as drilling, water, air, mineral,
                                                                                                   timber cutting, and route authorities




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Valuation Methodology                                                                  similar assets. Given that intangible assets are generally unique to
                                                                                       each business, directly comparable data may be difficult or
There are three traditional valuation approaches that can be used to                   unavailable for such assets. However, market data may be used to
develop an indication of value for an asset: (i) cost approach; (ii)                   estimate the income stream that might reasonably be expected to be
market approach; and (iii) income approach. Within these three basic                   generated from a particular asset such as technology or a trademark
approaches, several methods may be used to estimate value. An                          or trade name.
overview of these approaches and methods follow:


                                                                                       Income Approach
Cost Approach
                                                                                       The income approach is a way of determining the value of a business
The cost approach measures the benefits related to an asset by the                     enterprise, business ownership interest, security or asset using one or
cost to reconstruct or replace it with another of like utility. To the                 more methods that convert anticipated economic benefits into value.
extent that the assets being analyzed provide less utility than new                    The income approach is commonly used because it captures expected
assets, the reproduction or replacement cost would be adjusted to                      future returns to the owner and because it is able to estimate value
reflect appropriate physical deterioration, functional obsolescence,                   for unique assets when market transaction data is not available.
and economic obsolescence.                                                             Methods under the income approach determine an asset’s most likely
                                                                                       future benefit stream which is then discounted to present value with
The Replacement Cost Method of the cost approach provides an                           an appropriate risk-adjusted discount rate.
indication of value based on the cost of replacing the asset with one
with the same usefulness and comparable structure, less depreciation                   There are several methods available under the income approach to
from physical deterioration and functional and economic                                quantify fair value for a given asset. Some of the more common
obsolescence, if evident and measurable. Similarly, the Reproduction                   methods include the following:
Cost Method applies the same principals based on the cost of
producing an exact duplicate of the asset at today’s costs.                                The Relief from Royalty Method is based on the assumption
                                                                                           that, in lieu of ownership of an intangible asset, a company
                                                                                           would be willing to pay a royalty in order to enjoy the benefits
Market Approach                                                                            of the asset. Under this method, value is estimated by
                                                                                           discounting the hypothetical royalty payments to their present
The market approach determines a value indication for a business,                          value over the economic life of the asset.
business ownership interest, security, or intangible asset by comparing                    The Multi-Period Excess Earnings Method (“MPEEM”) estimates
the subject to similar assets that have been sold. This approach,                          the value of an intangible asset by quantifying the amount of
however, requires the availability of data from transactions involving




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      residual (or excess) cash flows generated by the asset, and                      way of a residual method. Please refer to the table below for the
      discounting those cash flows to the present. The method                          methodologies selected for determining the fair value of the Subject
      substantially resembles a “traditional” financial projection for                 Assets:
      a company, which includes revenues, costs of goods sold,
      operating expenses, and taxes projected for the next several                     Subject Assets                                           Methodology
      years based on reasonable assumptions. Unlike a traditional
      financial projection, however, the excess earnings                               Trade Names and Trademarks                 Relief from Royalty Method
      methodology requires the application of contributory asset                       Operating Licenses                                             MPEEM
      charges. These charges represent the return on and of all
      contributory assets, and are applied in order to estimate the
      “excess” earnings generated by the subject intangible asset.
      Contributory asset charges typically include payments for the
      use of working capital, tangible assets, and other intangible
      assets.

      The With or Without Method estimates the value of an
      intangible asset by quantifying the loss of economic profits
      under a hypothetical condition where only the subject
      intangible asset does not exist and needs to be re-created.
      The projected revenues, operating expenses, and cash flows
      are calculated in each “with” and “without” scenario, and the
      difference in the annual cash flows (i.e., the lost profit) is
      then discounted to the present to derive an indication of value
      for the asset.



Selected Approaches
The Subject Assets valued herein include the DAAG trade name and
operating licenses. Although not considered a recognizable intangible
asset, we have valued the Company’s assembled workforce acquired in
the Transaction for purposes of applying required returns to this
contributory asset. Additionally, goodwill has been valued herein by




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